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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________


No. 23-5062                                                September Term, 2023
                                                                       1:22-cv-02292-CKK
                                                  Filed On: November 29, 2023 [2029145]
United States of America,

              Appellee

       v.

Peter K. Navarro,

              Appellant

                                        ORDER

         Upon consideration of appellee’s consent motion for extension of time to file its
brief, it is

       ORDERED that the motion be granted. The following revised briefing schedule
will now apply in this case:

        Appellee's Brief                                            January 5, 2024
        Appellant's Reply Brief                                    January 26, 2024

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk
